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Certified Mail # 7019 1120 0001 0049 7790 RRR

July 23, 2020

Marcus Foster

c/o P.O. Box 92122

Henderson, Nevada near [89009]
(662) 610-0228

United States District Court

District of Northern Mississippi

Office of the Clerk

203 Gilmore Drive

Amory, Mississippi 38821

Ref: CASE NO. 1:19-CV-00201-DMB-DAS

Greetings:

lam submitting to you the following exhibits in reference to the complaint in the above referenced case.
When the case was initially filed in county court, | was informed not to submit any exhibits until actual
trial. However, with this complaint approach a year, | didn’t want to have these exhibits be omitted
because of them not being submitted. Humbly request you receive and file the following exhibits along
with the filed complaint:

Exhibit A — Grant Deed

Exhibit B — Deed of Trust

Exhibit C — OCC Asset Securitization Manual, pg. 23

Exhibit D — Real Estate and The Tax Reform Act of 1986

Exhibit E—MERS Procedural Manual

Exhibit F — MERS Patent

Exhibit G — Certified Forensic Audit by Michael Carrigan

Additional exhibits that have been obtained since the initial filing of the complaint include:

Exhibit H - Modern Money Mechanics — Chicago Federal Reserve, 1992

Exhibit | — Affidavit of Walker Todd — Emphasis added to this affidavit with Yellow Highlight

Exhibit J — Affidavit of Walker Todd — Actual court filing of affidavit
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| pray that you accept these and file them with the case. | thank you for your assistance.

Respectfully,

Marcus R. Foster
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"Marcus Foster, Pro Se
Rebecca Foster, Pro Se
2004 Hummingbird Lane
Tupelo, MS 38801
[662-610-0228]
‘[moerome@bellsouth.net]

MARCUS FOSTER PRO SE, REBECCA
‘FOSTER, PRO SE

Plaintiffs,
VS.

| RELIANCE FIRST CAPITAL, LLC;

‘DOVENMUEHLE MORTGAGE INC.,
MERRILL LYNCH, PIERCE, FENNER &
SMITH, INC., US BANK, NA AS TRUSTEE
‘FOR SECURITIZED TRUST GINNIE MAE
GUARANTEED REMIC 2017-005 TRUST,
‘GINNIE MAE, MORTGAGE ELECTRONIC
REGISTRATION SYSTEM, (“MERS”), AND

t| DOES 1 THROUGH 100 INCLUSIVE, et al.

 

 

 

Defendants

 

 

 

COUNTY COURT
COUNTY OF LEE STATE OF MISSISSIPPI

case Wo: CYZ0[4-00(04F0

PLAINTIFF’S COMPLAINT FOR:
BREACH OF CONTRACT, QUIET TITLE,
AND DECLARATORY RELIEF

PLAINTIFE’S COMPLAINT FOR: BREACH OF CONTRACT, QUIET TITLE, AND
DECLARATORY RELIEF

 
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COMES NOW the Plaintiffs, Marcus Foster, Pro se and Rebecca Foster, Pro se
(“Plaintiffs”), complaining of the Defendants as named above, and each of them, as follows:

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JURISDICTION

. Venue is proper in Lee County, as the actions complained of occurred in Lee County.

This Court has jurisdiction over this matter pursuant to the State Constitution and statute.
THE PARTIES
Plaintiffs are now, and at all times relevant to this action, residents of the County of
Lee, State of Mississippi.
At all times relevant to this action, Plaintiffs owned and has superior claim to the
Real Property (the “Home”) located at 2004 Hummingbird Lane, Tupelo, MS 38801.
Defendant Reliance First Capital, LLC is a Limited Liability Company doing business
in the County of Lee, State of Mississippi. Plaintiffs are informed and believe and
thereon allege that Reliance First Capital, LLC is the Original Lender.
Defendant US Bank, NA is a National Association doing business in the County of
Lee, State of Mississippi. Plaintiffs are informed and believe and thereon allege that
US Bank, NA is the Trustee of the Ginnie Mae Guaranteed REMIC 2017-005 Trust.
Defendant Ginnie Mae is a Government Sponsored Entity doing business in the County
of Lee, State of Mississippi. Plaintiffs are informed and believe and thereon allege that
Ginnie Mae is the Servicer of Plaintiffs loan.
Defendant Merrill Lynch, Pierce, Fenner & Smith, Inc. is a corporation doing business
in the County of Lee, State of Mississippi. Plaintiffs are informed and believe and
thereon allege that Merrill Lynch, Pierce, Fenner & Smith, Inc. is the Sponsor of the
Ginnie Mae Guaranteed REMIC 2017-005 Trust.
Defendant Depositor is an as-of-yet unidentified corporation doing business in the
County of Lee, State of Mississippi. Plaintiffs are informed and believe and thereon
allege that Defendant is the Depositor.
Defendant, Mortgage Electronic Registration Services, Inc., aka MERS (“MERS"),
MERS is doing business in the County of Lee, State of Mississippi. Plaintiffs are
informed and believe, and thereon allege that MERS was acting in the capacity of
electronic agent as agentas a purported Nominee/Beneficiary for Reliance First

Capital, LLC under the Deed, subsequently acting in a capacity of bailor/bailee for

 
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each successor defendant of bankruptcy remote Special Purpose Vehicle GNMA
2017-055 Trust.

Plaintiffs do not know the true names, capacities, or basis for liability of Defendants sued
herein as Does | through 100, inclusive, as each fictitiously named Defendant is in some
manner liable to Plaintiffs, or claims some right, title, or interest in the Property. Plaintiffs
will amend this Complaint to allege their true names and capacities when ascertained

through discovery. Plaintiffs are informed and believe, and therefore allege that at all

relevant times mentioned in this Complaint, each of the fictitiously named Defendants are: |*

responsible in some manner for the injuries and damages to Plaintiffs so alleged and that

such injuries and damages were proximately caused by such Defendants, and each of them.

Plaintiffs are informed and believe, and thereon allege that at all times herein mentioned t
each of the Defendants were the agents, employees, servants and/or the joint-ventures of

the remaining Defendants, and each of them, and in doing the things alleged herein below, |:

were acting within the course and scope of such agency, employment and/or joint venture.:

GENERAL ALLEGATIONS

 

. This is an action brought by Plaintiffs for declaratory judgment, injunctive and equitable |:

relief, and for compensatory, special, general and punitive damages.

Plaintiffs, homeowners, dispute Defendants’ superior colorable claim to legal title and
equitable title of the Prime Market Real Property in question (hereafter, the “Real
Property”), which is the subject of this instant action. Plaintiffs are the owners of the
property by Grant Deed and Deed of Trust (Exhibit A, Exhibit B).

Plaintiffs are informed and believe, and thereon allege that Defendants participated in a
transactional scheme whereby a purported Tangible Note is converted/exchanged for a

Payment Intangible asset to provide an alternative investment offering via Special Deposit

- to certificate or bond holders which were expected to be relatively safe; which, were

offered by Wall Street Firms to the secondary market through purported mortgage backed.

securities. (Exhibit C) OCC Asset Securitization Manual 1997, Pg. 23

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Cash Flow Purchase of
ABS Securities

    

Plaintiffs are informed and believe, and thereon alleges that, certain tax laws known as the
Real Estate Mortgage Investment Conduit (hereafter, REMIC) Tax Reform Act of 1986
were to be observed, and whereby the Non-Depository Payor Banks and Issuing Entities
REMIC would be protected from either entity going into bankruptcy. To achieve the
desired “bankruptcy remoteness,” purported numerous “True Sales” of Plaintiffs’ Tangible
Note would have had to of occurred by operation of All applicable law.

Plaintiffs are further informed and believe, and thereon allege that there was no “True
Sale” of Plaintiffs’ Tangible Note, a circumstance whereby Reliance First Capital, LLC
sold Plaintiffs’ Tangible Note to the “buyer/seller” Merrill Lynch, Pierce, Fenner & Smith,
Inc. in an ordinary course of business by offer, acceptance, delivery and consideration
given for full value of the entire instrument. (Exhibit D) Real Estate and the Tax Reform
Act of 1986.
The Original Lender, Reliance First Capital, LLC, purports to have negotiated in
accordance to all applicable laws the Tangible Note obligation in an ordinary course off
business to successor Defendants. Plaintiffs are informed and believe, and thereon allege
that Reliance First Capital, LLC has unlawfully purported to assign, transfer, or convey its
interest in Plaintiffs’ Note on or before the Closing Date of GNMA 2017-055 Trust.

Plaintiffs are informed and believe, and thereon allege that Reliance First Capital, LLC

 
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never negotiated the Tangible Note by operation of law for full value in accordance with
all applicable law to Merrill Lynch, Pierce, Fenner & Smith, Inc.

Defendants deployed MERS as an electronic agent under the Constructive Deed of Trust
as nominee/beneficiary for each successor Defendant as bailor/bailee to streamline a
purportedly hypothecated security interest “Secret Liens” over the Payment Intangible
after acquired collateral unlawfully construed as “Proceeds” of Plaintiffs’ Real Property.
Plaintiffs are informed and believe, and thereon allege that MERS only tracks and updates
ownership of the Payment Intangible registered with the MERS database software system; .
MERS cannot transfer the beneficial right to the Tangible Accommodated Note
instrument; a legitimate “True Sale” of a Tangible Note instrument can only be transferred|
in an ordinary course of business by proper negotiation for full value, transfer and delivery
by operation of all applicable law. (Exhibit E) MERS Procedural Manual (Exhibit F)
MERS Patent.

Plaintiffs are further informed and believe, and thereon allege that payment for full value
of the entire instrument was executed in an ordinary course of business from Merrill
Lynch, Pierce, Fenner & Smith, Inc. to Reliance First Capital, LLC. There are no
documents or records Defendants can be produced that demonstrate that prior to the April
28, 2017 closing date for the GNMA 2017-055 Trust, the Tangible Note was duly indorsed,
transferred and delivered to GNMA 2017-055 Trust in an ordinary course of business by
operation of all applicable law, including all intervening transfers including any purported,
transfers in the personal property Payment Intangible. Nor can any documents or records
be produced that demonstrate that prior to April 28, 2017, the Deed of Trust was duly
assigned, transferred and delivered to GNMA 2017-055 Trust, via the Custodian off
Records, US Bank, NA, including all Secret Liens purportedly securing the Payment
Intangible intervening transfers/assignments.
Plaintiffs further allege that any documents i.e., MERS Assignment of Deed of Trust that
purport to transfer a hypothecated beneficial security interest over the Payment Intangible
underlying collateral of the Tangible Note or Bill of Exchange to GNMA 2017-055 Trust
after the Closing Date April 28, 2017 are void as a matter of law; no security interest in
the Real Property was perfected in the name of any of the successor Defendants. The

alleged holder of the Tangible Note is not the beneficiary of the Deed of Trust. The alleged

 
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. Plaintiffs allege that an actual controversy has arisen and now exists between the Plaintiffs

beneficiary of Plaintiffs’ Deed of Trust, ERS, does not have the requisite title, perfected
security interest or standing to proceed in a foreclosure; and/or is not the real party in
interest as agent or nominee to any action taken or to be taken against the Real Property
by successor Defendants. Plaintiffs are also informed and believe, and thereon allege that
at all times herein mentioned, any assignment of a Deed of Trust without proper transfer
in an ordinary course of business of the Tangible Note that it secures is a legal nullity by
operation of law. Plaintiffs are informed and believe, and thereon allege that the GNMA,
2017-055 Trust had no officers or directors and no continuing duties other than to hold
assets and to issue the series of certificates of herein below.

Plaintiffs allege that Defendants, and each of them, cannot establish possession, show
proper receipt, transfer, negotiations, assignment and ownership of the Tangible Note or
Deed of Trust, resulting in imperfect security interests and claims; therefore, none of the
Defendants have perfected any colorable claim of title or security interest in the Real
Property. Defendants, and each of them, cannot establish that the Deed of Trust
purportedly securing the Tangle Note, were legally or properly acquired in accordance to
all applicable law. Plaintiffs therefore allege, upon information and belief, that none of the
parties to transaction, nor any of the Defendants in this case, hold a perfected and secured:
claim in the Real Property; and that all Defendants are equitably estopped and precluded

from asserting an unsecured claim against Plaintiffs’ estate.

and Defendants, and each of them. Plaintiffs desire a judicial determination and declaratioy
of its rights about the Real Property and the corresponding Tangible Note and Deed of
Trust.
Plaintiffs also seek redress from Defendants identified herein for damages, for othey
injunctive relief, and for cancellation of written instruments based upon:

a. An invalid and unperfected security interest in Plaintiffs’ Real Property hereinafte
described;
b. Void “True Sales;”
c. An incomplete and ineffectual perfection of a security interest in Plaintiff's Real
Property
STATEMENT OF PERTINENT FACTS

 
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. Plaintiffs had a Forensic Chain of Title Securitization Analysis completed by qualified

expett in to verify the claims of this complaint. (Exhibit G) Affidavit of Michael Carrigan

. Plaintiffs are the Superior Recorded owners of the Prime Market Property. (Exhibit A)

Grant Deed,

. Plaintiffs issued a Promissory Note to facilitate a loan in the amount of $214,347.00 to

Reliance First Capital, LLC.

. Plaintiffs pledged a Constructive Deed of Trust granting Legal Title to Accommodate

Reliance First Capital, LLC to file against Plaintiffs’ Superior Claim to Title filed in the
Official Records of the Lee County Recorder's Office on March 17, 2017 as ins#
2017.3343. (Exhibit B) Deed of Trust.

The purported Mortgage loan contracts between the parties are specific as to the duties of
each party.

. On or before April 28, 2017, the Closing Date of the Trust, Plaintiffs’ Note was sold to

the GNMA 2017-055 Trust.

. There is no contemporaneous assignment of Plaintiffs’ Deed of Trust to the Trustee of the

GNMA 2017-055 Trust.

. Plaintiffs’ Note and Deed of Trust are irreparably separated.
. Plaintiffs allege that only the Depositor is the rightful party that can convey the asset into

the trust pursuant to investor offering documents as filed with the Securities and
Exchange Commission.

PROPERTY
The Real Property description which is the subject of this suit is commonly known as
2004 Hummingbird Lane, Tupelo, MS 38801.

FIRST CAUSE OF ACTION
BREACH OF CONTRACT
(Against Defendant Reliance First Capital, LLC/MERS)

Plaintiffs re-allege and incorporate by reference all previous paragraphs as though fully
set forth herein.

. The terms of the mortgage contract are clear.
36.

Pursuant to paragraph 23 — Release, Defendant Reliance First Capital, LLC and

specifically MERS, their electronic agent, was obligated to satisfy, release and reconvey

 
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_ Defendant Reliance First Capital, LLC was paid in full when it sold and relinquished its

_ Defendant Reliance First Capital, LLC failed to satisfy, release and reconvey the security

_ Plaintiffs re-allege and incorporate herein by reference all previous paragraphs as

. The claims of all Defendants are without any legal right whatsoever, and Defendants have

_ The claim of all Defendants herein named, and each of them, claim some estate, right, title

Plaintiffs, therefore allege upon information and belief, that none of the Defendants in this

the beneficial security interest in Plaintiffs’ pledged Deed of Trust upon payment of all
sums associated with the release premium to Reliance First Capital, LLC for

Accommodated Party services rendered.
interest in Plaintiffs’ real property to Depositor.

instrument, thus breaching the terms found in paragraph 23 of the Deed of Trust.

SECOND CAUSE OF ACTION
QUIET TITLE

though fully set forth herein.

All Defendants named herein claim an interest and estate in the property adverse tq
Plaintiffs in that Defendant asserts it is the owner of the note secured by the Deed of Trust
to the property the subject of this suit.

All Defendants named herein claims an interest and estate in the Real Property adverse to
Plaintiffs in that Defendants’ asserts to be the owner of Tangible Note secured by the Deed

of Trust to the Real Property, the subject of this suit.
no estate, title, lien or interest in or to the Real Property, or any part of the Real Property.

lien or interest in or to the property adverse to Plaintiffs’ title, and these claims constitute

a cloud on Plaintiffs’ title to the Real Property.

case hold a perfected and secured claim in the Real Property; and that all Defendants are
estopped and precluded from asserting an unsecured claim against Plaintiffs’ Rea.
Property.

Plaintiffs request the decree permanently enjoin Defendants, and each of thei, and all
persons claiming under them, from asserting any adverse claim to Plaintiffs’ title to the
property; and

Plaintiffs request the court award Plaintiffs’ costs of this action, and such other relief as

 

the court may deem proper.

 
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THIRD CAUSE OF ACTION
DECLARATORY RELIEF

47. Plaintiffs re-allege and incorporate by reference all preceding paragraphs as though fully

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set forth herein.

An actual controversy has arisen and now exists between Plaintiffs and Defendants
specified hereinabove regarding Plaintiffs’ respective rights and duties in the subject note
and security instrument. Plaintiffs request a judicial determination of the rights,
obligations and interest of the parties regarding the subject property, and such
determination is necessary and appropriate under the circumstances so that all parties
may ascertain and know their rights, obligations and interests regarding the subject
property.

Plaintiffs should be the equitable owner of the Subject Property.

Plaintiffs seek to quiet title as of the date of the filing of this Complaint. Plaintiffs seek a
judicial declaration that the title to the Subject Property is vested in Plaintiffs alone and
that the Defendants be declared to have no interest estate, right, title or interest in the

subject property and that the Defendants, their agents and assigns, be forever enjoined

‘from asserting any estate, right title or interest in the Subject Property subject to

Plaintiffs’ rights.
PRAYER

WHEREFORE PREMISES CONSIDERED as Prayer for Relief, and for the
foregoing reasons, Plaintiffs pray that Defendants be cited to appear and answer herein,
and that upon final hearing, Plaintiffs be awarded judgment:

. Declaring that Defendants lack any interest in the subject property which would
permit them to foreclose, evict, or attempt to foreclose or evict, the trust deed and/or to
sell the subject properties;

. Declaring that the trust deed is not a lien against the subject properties, ordering
the immediate release of the trust deed of record, and quieting title to the subject
properties in Plaintiffs and against Defendants and all claiming by, through or under
them;

. A refund of any wrongfully or improperly collected fees and payments to
Defendants to which it had no right;

 

 
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, Pre- and post-judgment interest at the maximum rate allowed by law;

' Attomey's fees;

‘ Monetary relief over $100,000 but noc more than $2,000,000,00; and

‘ Such other and further reliefat law and/or in equity to which Plaintiffs may be

justly entitled including but not limited to damages within the jurisdictional limits of this

Court, together with pre-judgment and post-judgment interest as are allowed by law.

Dated: 3 | (hy 40/4

Marcus Foster, Pro Se
2004 Hummingbird Lane
Tupelo, MS 28801

 
 
   

Rebgtca Foster, Pro Se
2004 Hummingbird Lane
Tupelo, MS 28801

VERIFICATION
We, Marcus Foster, Pro se, and Rebecca Foster, Pro se are the Plaintiffs in the above
entitled matter and have personal knowledge to testify to the matters stated therein. We have
read the facts and allegations and declare under penalty of perjury in and for the State of
Mississippi that the above is true and correct to the best of our knowledge.

‘—

Marcus Foster, Pro Se
2004 Hummingbird
e Tupelo, MS 38801

   

 

 

2004 Hummingbird Lane
Tupelo, MS 38801

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before me and executed the above document.

On the 3 | day of ] y ie , Marcus Foster and Rebecca Foster, known to me appeared

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Exhibit A:
Exhibit B:
Exhibit C:
Exhibit D:
Exhibit E:
Exhibit F:
Exhibit G:

EXHIBITS

Grant Deed

Deed of Trust

OCC Asset Securitization Manual, Pg. 23
Real Estate and the Tax Reform Act of 1986
MERS Procedural Manual

MERS Patent

Certified Forensic Audit by Michael Carrigan

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